      Case 3:21-cv-07559-WHA   Document 66   Filed 06/15/21   Page 1 of 22




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION

Sonos, Inc.,                         §
                                     §
                  Plaintiff,         §          No. 6:20-cv-881-ADA
v.                                   §
                                     §
Google LLC,                          §
                                     §
                  Defendant.         §




         PLAINTIFF SONOS, INC.’S REPLY CLAIM CONSTRUCTION BRIEF
        Case 3:21-cv-07559-WHA                         Document 66                 Filed 06/15/21               Page 2 of 22




                                                 TABLE OF CONTENTS

I.      “MULTIMEDIA” ............................................................................................................... 1

II.     “NETWORK INTERFACE” .............................................................................................. 2

III.    “PLAYBACK DEVICE” / “ZONE PLAYER” .................................................................. 2

IV.     “ZONE” .............................................................................................................................. 3

V.      “ZONE CONFIGURATION …” / “GROUP CONFIGURATION” ................................. 3

VI.     “ZONE SCENE … ” ........................................................................................................... 7

VII.    “CAUSING THE SELECTABLE INDICATION … TO BE
        DISPLAYED”..................................................................................................................... 8

VIII.   “LOCAL AREA NETWORK” ........................................................................................... 8

IX.     “CLOUD” ........................................................................................................................... 9

X.      “A MEDIA PARTICULAR PLAYBACK SYSTEM”....................................................... 9

XI.     “DATA NETWORK” ....................................................................................................... 10

XII.    “REMOTE PLAYBACK QUEUE” ................................................................................. 12

XIII.   “AN INSTRUCTION … TO TAKE OVER RESPONSIBILITY FOR
        PLAYBACK” ................................................................................................................... 14

XIV. “WHEREIN THE INSTRUCTION COMPRISES AN INSTRUCTION” ...................... 15




                                                                     i
         Case 3:21-cv-07559-WHA                      Document 66               Filed 06/15/21            Page 3 of 22




                                             TABLE OF AUTHORITIES

CASES

CBT Flint Partners, LLC v. Return Path, Inc.,
  654 F.3d 1353 (Fed. Cir. 2011)................................................................................................. 10

Fintiv, Inc. v. Apple, Inc.,
  Case No. 18-cv-372, Dkt. 86 (W.D. Tex. Nov. 27, 2019) ........................................................ 11

Groove Digital, Inc. v. United Bank,
  825 F. App’x 852 (Fed. Cir. 2020) ........................................................................................... 13

ICU Med., Inc. v. Alaris Med. Sys., Inc.,
  558 F.3d 1368 (Fed. Cir. 2009)................................................................................................. 14

IGT v. Bally Gaming Int'l, Inc.,
  659 F.3d 1109 (Fed. Cir. 2011)................................................................................................... 5

Inpro II Licensing, S.A.R.L. v. T-Mobile USA, Inc.,
  450 F.3d 1350 (Fed. Cir. 2006)........................................................................................... 13, 14

Kaneka Corp. v. Xiamen Kingdomway Grp. Co.,
  790 F.3d 1298 (Fed. Cir. 2015 .................................................................................................... 1

Merck & Co. v. Teva Pharms. USA, Inc.,
 395 F.3d 1364 (Fed. Cir. 2005)................................................................................................. 11

Network Commerce, Inc. v. Microsoft Corp.,
  422 F.3d 1353 (Fed. Cir. 2005)................................................................................................. 11

Roy-G-Biv Corp. v. ABB, Ltd.,
  Case No. 11-cv-622, 2013 WL 3884192 (E.D. Tex. July 25, 2013) .......................................... 5

Saunders Group, Inc. v. Comfortrac, Inc.,
  492 F.3d 1326 (Fed. Cir. 2007)................................................................................................. 13

Synchronoss Techs., Inc. v. Dropbox, Inc.,
  987 F.3d 1358 (Fed. Cir. 2021)................................................................................................. 15




                                                                  ii
    Case 3:21-cv-07559-WHA             Document 66      Filed 06/15/21   Page 4 of 22




                       PARTIES’ PROPOSED CONSTRUCTIONS

           Claim Term                 Sonos Construction              Google Construction
                                  “any type of media that           Plain and ordinary
“multimedia” [’206 and ’615
                                  comprises audio (including        meaning; no construction
Patents]
                                  audio alone)”                     necessary at this time
                                  “ a physical component of a
                                                                    Plain and ordinary
“network interface” [’206, ’615,  device that provides an
                                                                    meaning; no construction
’885 Patents]                     interconnection with a data
                                                                    necessary at this time
                                  network ”
“playback device” [’206, ’615,    “a data network device            Plain and ordinary
’033 Patents] / “zone player”     configured to process and         meaning; no construction
[’966, ’885 Patents]              output audio”                     necessary at this time
“zone configuration characterizes “configuration data that          No separate construction
one or more zone scenes” [’206    provides an indication of         proposed. See “zone” and
Patent]                           one or more zone scenes”          “zone scene” terms.
                                                                    “an area or areas with one
“zone” [’206 Patent]                                                or more playback
                                                                    devices”
                                                                    “a group of two or more
                                        No separate construction
                                                                    zones that are grouped
                                        necessary.
                                                                    according to a common
“zone scene” [’206 Patent]                                          theme by configuring the
                                                                    zones in a particular
                                                                    scene (e.g., morning,
                                                                    afternoon or garden)”
“zone scene identifying a group
configuration associated with two
or more of the plurality of
independent playback devices”
[’206 Patent]
                                        “a previously-saved
                                        grouping of [independent
“[first / second] zone scene
                                        playback devices / zone    No separate construction
comprising a [first / second]
                                        players] that are to be    proposed. See “zone” and
predefined grouping of zone
                                        configured for synchronous “zone scene” terms.
players including at least the first
                                        playback of media when the
zone player and a [second / third]
                                        zone scene is invoked”
zone player that are to be
configured for synchronous
playback of media when the [first
/ second] zone scene is invoked”
[’966, ’885 Patents]
“group configuration” [’206             No separate construction
                                                                    Indefinite
Patent]                                 necessary.




                                              iii
    Case 3:21-cv-07559-WHA           Document 66       Filed 06/15/21     Page 5 of 22




                                                                     “applying a parameter or
“invoked” / “invoke” /                Plain and ordinary             setting”
“invocation” [’206, ’966, ’885        meaning; no construction       Plain and ordinary
Patents]                              necessary at this time         meaning; no construction
                                                                     necessary at this time
“causing the selectable indication
                                      Plain and ordinary
of the at least one of the one or
                                      meaning; no construction       Indefinite
more zone scenes to be
                                      necessary at this time
displayed” [’206 Patent]
                                   “data network that
                                                                     Plain and ordinary
                                   interconnects devices
“local area network” [’615 Patent]                                   meaning; no construction
                                   within a limited area, such
                                                                     necessary at this time
                                   as a home or office”
                                                                     “over a network”
                                      Plain and ordinary
                                                                     “over a wide-area
“cloud” [’615 and ’033 Patents]       meaning; no construction
                                                                     network such as the
                                      necessary at this time
                                                                     Internet.”
“a media particular playback
                                      “a media playback system”      Indefinite
system” [’615 Patent]
                                      “a medium that
                                      interconnects devices,
                                                                     Plain and ordinary
“data network” [’966, ’033, ’885      enabling them to send
                                                                     meaning; no construction
Patents]                              digital data packets to and
                                                                     necessary at this time
                                      receive digital data packets
                                      from each other”
                                      Plain and ordinary             “remote playback queue
“remote playback queue” [’033
                                      meaning; no construction       provided by a third
Patent]
                                      necessary at this time         party application”
“an instruction for the at least
one given playback device to take
over responsibility for playback                                     “an instruction for the at
                                      Plain and ordinary
of the remote playback queue                                         least one give playback
                                      meaning; no construction
from the computing device,                                           device…”; Instruction
                                      necessary at this time
wherein the instruction                                              means one instruction.
configures the at least one given
playback device to” [’033 Patent]
“wherein the instruction              Plain and ordinary
comprises an instruction” [’033       meaning; no construction       Indefinite
Patent]                               necessary at this time




                                             iv
      Case 3:21-cv-07559-WHA            Document 66        Filed 06/15/21      Page 6 of 22




I.     “Multimedia”1

       Google’s extrinsic evidence is insufficient to overcome the clear intrinsic record (DI 64 at

3 (citing dictionaries and expert testimony)), which confirms that Sonos used the term

“multimedia” in the ’206 and ’615 Patents to cover audio-only systems. 2

       It is indisputable that a preferred embodiment of the ’206 and ’615 Patents is a network

audio system comprised of audio payers called “zone players.” E.g., ’206 Patent at Fig. 1, 4:26-

5:3; ’615 Patent at Fig. 1, 3:17-37, 5:12-7:19. Tellingly, the term “audio” is used at least 82 times

in the ’206 Patent and at least 118 times in the ’615 Patent. Google’s construction of “multimedia,”

however, would impermissibly read this preferred embodiment out of the ’206 and ’615 Patent

claims. See, e.g., Kaneka Corp. v. Xiamen Kingdomway Grp. Co., 790 F.3d 1298, 1304 (Fed. Cir.

2015) (“A claim construction that excludes a preferred embodiment is ‘rarely, if ever, correct.’”).

       The ’206 and ’615 Patents also equate “multimedia” with just audio. For instance, the ’206

Patent states “[t]here are a number of multimedia players of which three examples 102, 104, and

106 are shown as audio devices.” ’206 Patent at 4:31-33. The ’615 Patent explains that “networks

can be used to connect one or more multimedia playback devices for a home or other location

playback network (e.g., a home music system)” and that “[m]usic and/or other multimedia

content can be shared ….” ’615 Patent at 1:66-2:9. This further confirms that the claim term

“multimedia” must cover audio alone.

       Finally, Google cannot discount the relevance of the “multimedia” construction in the prior

D&M and ITC cases merely because those cases involved different patents. DI 64 at 3-4. This


1
  All emphasis herein has been added unless otherwise noted.
2
  Moreover, Google’s citation to Dr. Almeroth’s IPR testimony regarding an unrelated non-Sonos
patent is misleading. Google ignored that immediately after the cited testimony, Dr. Almeroth
confirmed that the term “multimedia” can be used to described “audio or video” alone. DI 64, Ex.
10 at ¶ 15. Dr. Almeroth’s testimony is consistent with technical literature. See, e.g., Ex. 29
(stating that “multimedia file types” include various audio-only file types); Ex. 30-31.


                                                 1
       Case 3:21-cv-07559-WHA            Document 66        Filed 06/15/21      Page 7 of 22




argument ignores that the ’949 Patent asserted in those cases is intrinsic evidence to the ’615 Patent

here and that all these asserted Sonos patents have similar disclosure related to “multimedia.”

II.     “Network Interface”

        Google only expressly challenges Sonos’s separate construction of “data network,” and

thus, Sonos’s construction of “network interface” should be adopted. See DI 64 at 4-5.

        Moreover, Google is wrong to suggest that the dispute in the D&M case did not relate to

whether a “network interface” provides an interconnection with a data network (as Sonos has

construed that term here). DI 64 at 5 n.4. This is evident from the Delaware court’s opinion:

        [T]he specification … provides that “[t]he zone player includes a network
        interface,” which “facilitates a data flow between a data network … and the zone
        player,” which supports [Sonos’s] position that the network interface allows for
        data flow between the device and the data network in both directions (i.e. both to
        and from the device). This construction is supported by the specifications of the
        other patents at issue. Therefore, I will adopt [Sonos’s] construction.

Ex. 6 at 12-13 (internal citations omitted). 3

III.    “Playback Device” / “Zone Player”

        Again, Google only expressly disputes Sonos’s separate construction of “data network,”

and thus, Sonos’s construction of “playback device”/“zone player” should be adopted. DI 64 at 6.

        Moreover, contrary to Google’s suggestion, the Delaware court’s opinion on the

construction of this term in the D&M case is relevant to the parties’ dispute here regarding whether

a “data network” requires the transfer of digital data packets. DI 64 at 5 n.4. In adopting Sonos’s

construction, the Delaware court acknowledged that Sonos’s cornerstone ’395 Patent




3
  As with “multimedia,” Google cannot discount the relevance of the “network interface”
construction in the D&M and ITC cases. Google’s argument ignores that one or more of the
patents asserted in the D&M case is intrinsic evidence to the ’206, ’615, and ’885 Patents here and
that all these asserted Sonos patents have similar disclosure related to “network interface.”


                                                  2
      Case 3:21-cv-07559-WHA             Document 66        Filed 06/15/21       Page 8 of 22




“characterizes the zone players as ‘digital data processing devices.’” DI 60-6, p. 11. 4

IV.    “Zone”

       While Google seeks to construe “zone” in the Zone Scene Patents, that word never appears

as a standalone term in the claims. 5 Instead, “zone” only appears as part of the compound terms

“zone player,” “zone configuration,” and “zone scene” – all of which are already being construed.

Thus, Google’s attempt to construe “zone” in isolation is unnecessary, procedurally inappropriate,

and unhelpful to a jury. DI 60, pp. 7-8; DI 64, pp. 6-7.

V.     “Zone Configuration …” / “Group Configuration”

       Google’s indefiniteness position for “zone configuration” (and also “group configuration”)

is based on nothing more than feigned ignorance as to the meaning of the terms “zone

configuration,” “zone scene,” and “group configuration” within the claims of the ’206 Patent. The

reality is that, in the context of the intrinsic evidence, a POSITA would have no trouble

understanding the meaning of these terms and how they fit together to define the claimed invention.

       The Zone Scene Patents disclose a new mechanism for grouping zone players together for

synchronous playback that was intended to advance upon Sonos’s prior mechanism for grouping,

which required a user to select each zone player to be included in an ad hoc manner, one-by-one,

every time the user wished to play media in that group configuration. Ex. 1 at 8:7-22; Ex. 26 at

Appx. N (“’407 Prov”), p. 30. The Zone Scene Patents recognized that this prior mechanism could

be inefficient and time consuming in some situations – particularly for group configurations having

a larger number of zone players. Id.



4
  U.S. Patent No. 8,234,395 is cited on the face of all the asserted patents in this case, and thus, is
part of each of their respective intrinsic records.
5
  In its brief, Google for the first time requests that “zone” be construed in the Direct Control
Patents as well. This request should be rejected because it is both untimely and unnecessary, as
the term “zone” as used in those patents is already clear on its face.


                                                  3
      Case 3:21-cv-07559-WHA            Document 66       Filed 06/15/21      Page 9 of 22




       To address this inefficiency, Sonos’s new mechanism for grouping enables a user to (i)

pre-create and pre-save a predefined group of zone players at some time prior to when the user

wishes to actually play media in that group, and then (ii) when the user later wishes to play media

in that group configuration, simply invoke the previously-saved group for synchronous playback

without having to select the zone players to be included in the group in an ad hoc manner at that

time. Id. at 8:22-36, 10:4-12, 10:21-22; ‘407 Prov. at pp. 30-35. The Zone Scene Patents refer to

this kind of predefined group of zone players as a “zone scene,” and teach that each zone scene

comprises an identification of the particular group configuration of zone players that has been

predefined and saved for later invocation (i.e., the makeup of the predefined group). Id. at 8:22-

336, 8:60-67, 10:12-19; ‘407 Prov. at pp. 30, 37-41.

       The Zone Scene Patents further disclose that zone players may store configuration data for

the multi-zone system that includes data characterizing previously-saved zone scenes within the

system, which may then be provided to controllers of the system in order to facilitate user

interaction. Id. at 5:51-57, 7:31-33. The Zone Scene Patents refer to this configuration data in

terms of “one or more zone configuration files.” Id.

       Consistent with the foregoing, the claims of the ’206 Patent recite a “multimedia

controller” that is configured to:

           receive, via a network interface, a zone configuration from a first
           independent playback device of a plurality of independent playback
           devices, wherein the zone configuration is configured via the controller and
           maintained at the first independent playback device, and wherein the zone
           configuration characterizes one or more zone scenes, each zone scene
           identifying a group configuration associated with two or more of the
           plurality of independent playback devices;

Id. at Cl. 1. This claim language, both on its own and in view of the specification, clearly informs

a POSITA that (1) “group configuration . . .” refers to a grouping of zone players for synchronous

playback, (2) “zone scene identifying a group configuration . . .” refers to a special kind of group


                                                 4
      Case 3:21-cv-07559-WHA             Document 66         Filed 06/15/21      Page 10 of 22




configuration that is predefined and saved for later invocation, and (3) “zone configuration [that]

characterizes one or more zone scenes” refers to configuration data that provides an indication of

one or more zone scenes. 6 Ex. 26 at ¶¶ 63-66.

        Thus, a POSITA would have no issue reasonably discerning the meaning of this claim

language, and Google’s attempt to divorce the term “zone scene” from the term “group

configuration” and interpret these terms in isolation is without merit. In the context of the claim

language, it is clear that “zone scene identifying a group configuration . . .” is a single, definitional

phrase that is intended to collectively define the confines of the claimed “zone scene” – namely,

that it a previously-saved grouping of zone players that are to be configured for synchronous

playback of media when the zone scene is invoked. 7 Id. at ¶¶ 64, 69.

        Moreover, while Google alleges that a POSITA would be unable to distinguish the term

“zone configuration” from the terms “zone scene” and “group configuration,” Google makes no

real effort to interpret those terms in the context of the claim language, which clearly informs a

POSITA as to the meaning and interrelationship between these terms. Instead, Google’s lead tactic

is to highlight a few statements from the specification that, according to Google, conflate the term

“zone configuration” with the terms “zone scene” and “group configuration.” However, not only

are Google’s specification-based arguments irrelevant given that the meaning of these terms is



6
  Google nitpicks Sonos’s construction of the “zone configuration” phrase on the basis that Sonos’s
use of the transition “provides an indication of” in place of “characterizes” is “unhelpful and
incorrect.” While Sonos disagrees, in order to reduce the issues for the Court, Sonos is amenable
to changing from “provides an indication of” to “provides a characteristic of” or simply re-using
the claim term “characterizes,” such that Sonos’s construction would become “configuration data
that [characterizes / provides a characteristic of] one or more zone scenes.” From the perspective
of a POSITA, these different options are interchangeable in this context. Ex. 26 at ¶ 61.
7
  See IGT v. Bally Gaming Int'l, Inc., 659 F.3d 1109 (Fed. Cir. 2011) (“Extracting a single word
from a claim divorced from the surrounding limitations can lead construction astray.”); Roy-G-
Biv Corp. v. ABB, Ltd., Case No. 11-cv-622, 2013 WL 3884192, at *9 (E.D. Tex. July 25, 2013)
(finding it “necessary” to construe term “as it is defined in the claims”).


                                                   5
      Case 3:21-cv-07559-WHA            Document 66        Filed 06/15/21      Page 11 of 22




clear based on the claim language alone, but they also lack merit.

       For instance, Google’s argument that the specification conflates the terms “zone

configuration” and “zone scene” is based exclusively on a single use of the label “Zone

Configuration/Scene” in FIG. 3A. However, this argument completely ignores the specification’s

earlier discussion of the one or more “zone configuration files” stored in the memory of a zone

player, which is undeniably a description of configuration data. Id. at ¶¶ 72, 75. 8

       Further, Google’s argument that the specification conflates the term “zone configuration”

with “group configuration” is based on passages from the specification that never even use the

claim terms “zone configuration” and “group configuration” on their own – let alone use those

terms “synonymously” as Google contends. See Ex. 1 at 5:51-59 (referring to “one or more saved

zone configuration files” and “a saved zone group configuration file” but making no mention of a

“zone scene identifying a group configuration”).

       Finally, Google’s argument that it cannot distinguish between configuration data that

“characterizes one or more zone scenes” and a “zone scene” itself is based on an unduly-narrow

interpretation of “zone scene” that is limited to a computer data representation of the “zone scene”

and nothing else, which is not consistent with the description in the intrinsic evidence. A “zone

scene” is described as a previously-saved, predefined group configuration that is framed from the

perspective of a user rather than being limited only to its representation in computer data. Id. at

8:19-36, 10:4-10, 10:21-22. 9



8
  Google takes its feigned ignorance even further by saying it does not see how a reference to “zone
configuration files” refers to configuration data, despite the fact that a “file” stored in a device’s
memory is well understood to mean a collection of data stored in memory. Id. at ¶¶ 66, 72-73.
9
  Google argues that its attempt to limit “zone scene” to a “data representation” is justified by the
fact that Sonos’s construction and the specification both use the word “saved” when referring to a
“zone scene,” but this argument is nonsense – the term “saved” is used all the time in common
parlance to refer to the user action of saving something using software.


                                                  6
      Case 3:21-cv-07559-WHA           Document 66        Filed 06/15/21      Page 12 of 22




VI.    “Zone Scene … ”

       The parties agree on several aspects of the “zone scene” terms. First, the parties agree that

“zone scene” is a coined term. Second, the parties agree that “zone scene” refers to a specific type

of grouping of zone players. But the parties disagree on how to define this type of grouping.

       Sonos’s construction faithfully captures the defining characteristic of the claimed “zone

scene” by construing it in the context of its surrounding, definitional claim language to mean “a

previously-saved grouping of zone players that are to be configured for synchronous playback of

media when the zone scene is invoked.” In contrast, Google’s construction fails to account for

this defining characteristic of the claimed “zone scene” that distinguishes it over a “zone group”

created in an ad-hoc manner, and in its place, Google attempts to require that the zone players

included in the “zone scene” be “grouped according to a common theme by configuring the zones

in a particular scene (e.g., morning, afternoon or garden)” – which is flawed for several reasons.

       First, the parties agree that “zone scene” is a coined term, and that the Zone Scene Patents

use the shorthand term “scene” and the term “theme” as synonyms for “zone scene.” DI 64, p. 13.

When placed in this proper context, Google’s proposal requiring the “zone scene” to be “grouped

according to a common theme by configuring the zones in a particular scene” is circular, confusing,

and borderline nonsensical – it requires the “zone scene” to be grouped according to a common

“zone scene” by configuring the zones in a particular “zone scene.”

       Second, in advocating for use of the synonymous terms “theme” and “scene” in its

construction, Google appears to suggest that this imposes an additional requirement for a “zone

scene” to include what Google refers to as “thematic information,” a phrase Google invented that

appears nowhere in the specification.      In support of this statement, Google points to the

specification’s reference to “morning, afternoon, or garden.” However, the Zone Scene Patents

make clear that those are nothing more than non-limiting examples of names (or labels) that could


                                                 7
       Case 3:21-cv-07559-WHA          Document 66        Filed 06/15/21      Page 13 of 22




be used to identify a “zone scene,” and never once characterizes these names as “thematic

information.” Ex. 1 at 8:29-36, 9:37-39; ‘407 Prov. at 30, 38. More importantly, there is nothing

in the intrinsic evidence that would require the claimed “zone scene” to include so-called “thematic

information,” and Google’s attempt to import that limitation into “zone scene” is improper. 10

VII.    “Causing the Selectable Indication … to Be Displayed”

        As a concession that the phrase “causing the selectable indication … to be displayed” of

claim 19 of the ’206 Patent has a clerical error in its dependency clause (erroneously identifying

claim 17 instead of 18) that the Court can correct, Google changed its position and now argues that

claim 19 is indefinite because the exact same sequence of words “selectable indication of at least

one of the one or more zone scenes to be displayed” allegedly does not have antecedent basis.

However, Google fails to acknowledge that claim 18 limits claim 17’s “caus[ing] the selectable

indication” function by requiring that function to “comprise[] causing an indication of at least one

of the one or more zone scenes to be displayed.” Thus, claim 18’s “causing an indication of at

least one of the one or more zone scenes to be displayed” refers back to claim 17’s “caus[ing] the

selectable indication” function, thereby providing antecedent basis for claim 19’s “causing the

selectable indication of the at least one of the one or more zone scenes to be displayed.” 11

VIII. “Local Area Network”

        As Google conceded in the ITC action and its expert conceded in this case, a “LAN” is a

type of a “data network.” DI 60, Ex.7 at 16-17; Ex. 28 at 55:24-25, 56:3. Despite also conceding

that “LAN” is a term of art in networking with a well-known meaning, Google and its expert ignore


10
   Google attempts to justify importing this additional limitation into “zone scene” by arguing that
Sonos’s construction fails to account for the “scene” aspect of that term. This argument once again
fails to recognize that the Zone Scene Patents use the term “scene” as a shorthand for the coined
term “zone scene,” not as a reference to some constituent part of a “zone scene.”
11
   Notably, Google has only challenged claim 19 despite claim 14 also reciting the same language
(but without the clerical error in its dependency clause).


                                                 8
      Case 3:21-cv-07559-WHA           Document 66       Filed 06/15/21      Page 14 of 22




that well-known meaning and argue that a “LAN” (i) does not have the characteristics of a “data

network” (discussed below in Section XII) and (ii) does not span a limited area. 12

       In doing so, Google ignores the fact that the term “LAN” was coined over 50 years ago

when “the increasing demand and usage of computers in universities and research labs in the late

1960s generated the need to provide high-speed interconnections between computer systems.”

https://en.wikipedia.org/wiki/Local_area_network; see also DI 60-14 at 674, 676. Since then,

“LAN” has come to have a well-known meaning in the field of networking as a limited area

computer network, which has the characteristics of a “data network.” See id.; Ex. 27 at ¶¶ 66-80.

       In failing to acknowledge the well-known meaning of “LAN,” Google’s expert went so far

as to testify that two cups connected by a short string constitutes a “LAN.” Ex. 28 at 152:25-

155:11. The ‘615 Patent, however, makes clear to a POSITA that a “LAN” is a computer network

—no proper POSITA would refer to two cups on a string as a “LAN.” Thus, “LAN” should be

given its well-known meaning as a type of “data network” (or “computer network”).

IX.    “Cloud”

       Google concedes that its original construction was wrong and now asks to construe “cloud”

as “over a wide-area network such as the Internet.” DI 64 at 21. But swapping that phrase for

“cloud” in claim language like “one or more first cloud servers” and “a cloud-based computing

system associated with a cloud-based media service” will likely cause jury confusion. There is no

need to construe “cloud” because it is a term that the jury already understands.

X.     “A Media Particular Playback System”

       There is no reasonable debate that the phrase “media particular playback system” found



12
  As to the geographic range of a “LAN,” Google mischaracterizes Sonos’s construction by
reading the phrase “such as a home or office” to be exhaustive. To be clear, Sonos does not
dispute that a “LAN” could have a maximum range of some other limited area.


                                                 9
      Case 3:21-cv-07559-WHA           Document 66        Filed 06/15/21      Page 15 of 22




in claims 3, 15, and 26 of the ’615 Patent contains a typographical error (i.e., the inclusion of the

word “particular”) that is correctable by this Court. While Google tries to manufacture other

interpretations of this phrase, not one is reasonable since each is inconsistent with how a POSITA

would interpret the phrase in view of the claims and specification. Ex. 27 at ¶¶ 81-99.

       Specifically, a POSITA having read the ’615 Patent would not reasonably interpret the

phrase as a “playback system that can only play particular media formats” (e.g., only MP3 formats)

because the ’615 Patent provides no support for such a system. Id. at ¶¶ 83-85. Likewise, a

POSITA having read claims 3, 15, or 26 would not reasonably interpret this phrase as a “playback

system that can only play … particular media types” or “a playback system specific to a particular

type of media” given that each of these claims continues to recite “playing back the multimedia

content” instead of reciting “playing back the content of the particular [media types or type of

media],” which would be required under Google’s proposal. Id. at ¶¶ 83-84, 86-90.

       Google’s only other argument is that “media particular” was meant to distinguish a

“playback system” that can play back media from one that cannot. Even assuming a POSITA

would interpret “media particular playback system” in this manner (which Dr. Schmidt disputes

(see Ex. 27 at ¶¶ 91-93)), that would leave two options: the phrase (i) refers to a playback system

that can play back media or (ii) has an error that the Court can correct to recite “media playback

system.” 13 Both options have the same meaning and result in the phrase not being indefinite.

XI.    “Data Network”

       Google interprets the well-known term of art “data network” contrary to its plain and

ordinary meaning. Ex. 26 at ¶¶22-51; Ex. 27 at ¶¶ 24-65. Google reaches its flawed interpretation



13
  Cf. CBT Flint Partners, LLC v. Return Path, Inc., 654 F.3d 1353, 1359 (Fed. Cir. 2011) (finding
claim not indefinite when each reasonable interpretation would result in the same claim scope and
thus, there was no reason to avoid correcting it).


                                                 10
      Case 3:21-cv-07559-WHA            Document 66        Filed 06/15/21      Page 16 of 22




by breaking the term “data network” into two separate words, ascribing a dictionary definition to

the word “data,” and then reading this isolated definition back into the term “data network.” 14

Google then contends that the plain and ordinary meaning of “data network” would encompass

any “network” that carries “data” of any form between devices. Id. at ¶¶ 26-30, 57-60. In fact,

Google’s expert remarkably testified that talking over two cups connected by a string constitutes

a “data network.” Ex. 28 at 60:18-61:2. Google has not only failed to construe the term “data

network” as a whole, but it has improperly rendered the term “data network” meaningless by

indistinguishably equating that term to just a “network.” 15 This is how a layperson might interpret

the term “data network,” not how a POSITA would. 16 Ex. 27 at ¶¶ 26-30; Ex. 26 at ¶¶25-27.

       In contrast, Sonos’s construction captures a POSITA’s understanding that “data network”

came about to refer to emerging computer networks and was specifically meant to distinguish older

analog and voice networks, such as circuit-switched networks, telephone networks, and cellular

networks of the time. Ex. 26 at ¶¶38-41; Ex. 27 at ¶¶ 34-39. These new “data networks” connect

digital computer devices and enable them to both send and receive digital data packets. Id. In

fact, Google’s own expert’s analysis reaches this same conclusion. Id. at ¶¶ 31-33; Ex. 26 at ¶35.

       While Google asserts that the term “data network” also applies to these older “networks”

that carry analog voice signals, Google fails to present any credible evidence to support its

assertion that a POSITA would consider a “voice network” to be a “data network,” which is




14
   Network Commerce, Inc. v. Microsoft Corp., 422 F.3d 1353, 1359-60 (Fed. Cir. 2005)
(rejecting construction of the term “download component” that was based on the combination of
two dictionary definitions of “download” and “component”).
15
   Merck & Co. v. Teva Pharms. USA, Inc., 395 F.3d 1364, 1372 (Fed. Cir. 2005) (“A claim
construction [giving] meaning to all [] terms of the claim is preferred over one that does not ...”).
16
   Fintiv, Inc. v. Apple, Inc., Case No. 18-CV-372-ADA, Dkt. 86 at 13-14 (W.D. Tex. Nov. 27,
2019) (ruling that a term needed to be construed to reflect its technical (as opposed to non-
technical) meaning, since claims are construed from perspective of a POSITA, not a layperson).


                                                 11
       Case 3:21-cv-07559-WHA          Document 66        Filed 06/15/21      Page 17 of 22




unsurprising because these are distinctly different networks. Ex. 27 at ¶¶ 33-39. 17           More

concerning, Google’s interpretation of “data network” is so broad that it would read on ordinary

speaker wires carrying analog audio from a centralized A/V receiver to passive speakers, which is

exactly the type of “conventional” system that Sonos’s patents distinguished and improved upon

with its networked system of “zone players” that are digital data processing devices connected to

a “data network.” Id. at ¶¶ 57-60; Ex. 26 at ¶¶ 31-33. Google’s attempt to broadly interpret “data

network” is contrary to Sonos’s patents that disclaim such “conventional” systems. 18

XII.    “Remote Playback Queue”

        Google does not argue that the meaning of “remote playback queue” requires the queue to

be provided by a third-party application. Instead, Google seeks to import this limitation from the

specification into the claims because, according to Google, to the extent the specification discloses

a remote playback queue, it “solely” discloses embodiments where the queue is provided by a

third-party application. DI 64, pp. 25-26 (citing ’033 Patent at 12:41-64, 16:59-61, 16:64-67).

        Google’s argument is both factually and legally wrong. For example, to support its

argument, Google cites the following: “In certain embodiments, a shared queue is provided



17
   Google wrongly portrays Sonos’s construction as requiring each device to be capable of direct,
bidirectional communication with every other device on the “data network.” Sonos’s
construction merely acknowledges that a “data network” enables devices to both send and
receive over the “data network” (i.e., enables two-way communication). Thus, Sonos’s
construction does not exclude “token-ring networks,” which indisputably enable devices to
engage in two-way communication. Ex. 27 at ¶¶ 43-48. Further, while Google identifies “data
diode networks, broadcast networks, and multicast networks” as examples of “unidirectional
networks,” Google fails to present any credible evidence to support its assertion that a POSITA
would consider these “networks” to be a “data network.” Id. at ¶¶ 49-56; Ex. 26 at ¶¶49-50.
18
   Sonos acknowledges that the ITC CALJ construed “local area network” to require a “data
communications network” but declined to require the transfer of digital data packets. Sonos
respectfully disagrees with the CALJ’s conclusion, which is contradicted by the overwhelming
evidence here showing “data network” is a term of art that refers to a specific class of networks
that enable transfer of digital data packets. And contrary to Google’s assertion (DI 64 at 25), the
CALJ did not reject the notion that a “data network” requires two-way communication.


                                                 12
      Case 3:21-cv-07559-WHA            Document 66        Filed 06/15/21      Page 18 of 22




between the local playback system and the third-party application to keep the local system and

application synchronized.” Id. at 25-26 (citing ’033 Patent at 16:64-67). This disclosure does not

state that the “shared queue” is provided by the “third party application,” but rather explains that

the “shared queue” is “provided between” the “local playback system” and the “third party

application.” As such, this disclosure of a “shared queue” is not party- or application-specific.

       Even if Google’s argument was factually correct, the Federal Circuit has made clear that it

is improper to read details from a preferred embodiment into the claims—even if it is the only

embodiment—absent a clear disclaimer in the intrinsic record. There is no such disclaimer here.

To the contrary, the disclosures cited by Google merely describe “certain embodiments” and do

not indicate that the remote playback queue being provided by a third-party application is an

essential component of the invention, nor do they contain a clear disclaimer of a remote playback

queue that is provided by something other than a third-party application. See Saunders Group,

Inc. v. Comfortrac, Inc., 492 F.3d 1326, 1333 (Fed. Cir. 2007) (rejecting importation of “pressure

activated seal” limitation where specification “do[es] not expressly state that the pressure activated

seal is an essential component of the invention”); Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d

898, 906-908 (Fed. Cir. 2004) (rejecting importation of “pressure jacket” limitation where “the

written description does not contain a clear disavowal of embodiments lacking a pressure jacket.”).

       The cases relied on by Google (see DI 64, p. 26) are inapplicable. In Groove, the Federal

Circuit construed the term “applet” to require a “geotargeting” limitation where the specification

described “the ‘present invention’ as ‘delivering and serving local content and advertisements’”

and stated that “the primary field needed for target delivery of applets is a zip code.” Groove

Digital, Inc. v. United Bank, 825 F. App’x 852, 857-58 (Fed. Cir. 2020). Likewise, in Inpro II,

the Federal Circuit construed the term “host interface” as “a direct parallel bus interface” where




                                                 13
     Case 3:21-cv-07559-WHA            Document 66        Filed 06/15/21      Page 19 of 22




“[t]he specification characterizes the direct bus interface as a ‘very important feature’ of the

invention, stating that a ‘direct’ connection is necessary to provide ‘direct’ access ….” Inpro II

Licensing, S.A.R.L. v. T-Mobile USA, Inc., 450 F.3d 1350, 1353-55 (Fed. Cir. 2006). And in ICU,

the Federal Circuit construed the term “spike” to require “a pointed tip,” which was supported by

the term’s ordinary meaning. ICU Med., Inc. v. Alaris Med. Sys., Inc., 558 F.3d 1368, 1375 (Fed.

Cir. 2009). Here, in contrast, the ’033 Patent does not describe the “invention” as “need[ing]” a

third-party application to provide a remote playback queue nor does it describe such an application

as a “very important feature.”

XIII. “An Instruction … to Take Over Responsibility for Playback”

       It is Google (not Sonos) that “misconstrues the relevant claim language.” DI 64, p. 27.

The language that immediately follows “an instruction” describes what the “instruction”

is/requires, namely, “an instruction for the at least one given playback device to take over

responsibility for playback of the remote playback queue from the computing device.” As

previously explained, applying the well-established rule that an indefinite article “an” means “one

or more,” “an instruction” in this limitation means “one or more instructions.” DI 60, pp. 28-29.

       Google ignores this language that recites what the “instruction” is/requires and instead

focuses on the subsequent “wherein” clause reciting what Google refers to as “three sub-steps.”

DI 64 at 27-29. Contrary to Google’s assertion, however, the “wherein” clause does not “require[]

that there be one instruction … and that the … instruction perform all three sub-steps.” Id. at 29

(emphasis added). Instead, the “wherein” clause describes three functions that the “playback

device” is operable to perform after receiving the claimed “instruction,” which as explained above

could be one or more instructions. E.g., ’033 Patent at claim 1 (“wherein the instruction configures

the at least one given playback device to (i) … (ii) … and (iii) …”). Importantly, the “wherein”

clause also does not require that the “instruction” actually instruct the “playback device” to


                                                14
     Case 3:21-cv-07559-WHA            Document 66        Filed 06/15/21      Page 20 of 22




perform the three “sub-steps.” As recited in the claims, the “instruction” need only instruct the

“playback device to take over responsibility for playback of the remote playback queue.”

       To support its construction, Google also mischaracterizes the prosecution history. Sonos

did not “distinguish[] the Gran reference because it required transmitting multiple ‘continuous’

instructions, rather than a single instruction to take over playback responsibility.” DI 64 at 28.

Instead, Sonos distinguished Gran because “the media rendering device in Gran never ‘take[s]

over responsibility for playback of [a] remote playback queue’ from control element 100,”

regardless of the number of instructions it receives. DI 64-18, p. 18 (emphasis in original).

XIV. “Wherein the Instruction Comprises an Instruction”

       Instead of conceding that “wherein the instruction comprises an instruction” follows a

common claim-drafting technique that Google routinely uses, Google conjures up another baseless

indefiniteness attack. 19 But where, as here, a dependent claim simply provides more specificity

for a previously-recited limitation using the word “comprises,” a POSITA would have no trouble

understanding the scope of the claim with reasonable certainty. Ex. 27 at ¶¶ 100-107.

       Dr. Kyriakakis’s purported confusion between “transmitting an instruction” over a data

network (which is the “instruction” that the phrase “wherein the instruction comprises an

instruction” further limits) and the separately claimed “program instructions” stored on memory

confirms that Dr. Kyriakakis has applied an improper level of ordinary skill and his opinions

should be disregarded. See, e.g., id. at ¶¶ 17-22, 105-107.




19
   Google’s cited case is inapposite. There, the patentee admitted that the claims as written
required “an impossibility” (generating a single file comprising a directory of files) and sought to
rewrite the claim to “require a digital media [file] that is a part of a directory,” as opposed to a
media file comprising a directory of files. See Synchronoss Techs., Inc. v. Dropbox, Inc., 987 F.3d
1358, 1364, 66-67 (Fed. Cir. 2021).


                                                15
    Case 3:21-cv-07559-WHA   Document 66    Filed 06/15/21    Page 21 of 22




Dated: June 15, 2021              Respectfully submitted,

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                                   16
     Case 3:21-cv-07559-WHA           Document 66       Filed 06/15/21      Page 22 of 22




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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on June 15, 2021, all counsel of record who are deemed to

have consented to electronic service are being served with a copy of this document through the

Court’s CM/ECF system.

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                                               17
